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Gross, et al. v. Knauf Gips, KG, et al.

Exhibit “A’—Additional Plaintiffs Named in
Mary Anne Benes’ Substituted and Amended Omnibus Class Action Complaint (IID)

Abbott, Carl D, & Adele

Abels, Shirley

Acadia I] Condo d/o Russell Foti

Acosta, Amparo

Adams, Robert & Klein- Adams,
Marni

Adams, Eddie & Rose

Adcock, Michael & Bridgitte

Aguilar, Antonio & Jenny

Alexander, Henry & Penny

Alford, Edgar & Rita

Alfred, Janice

Allen, Darius

Allisen, Tim

Alonzo, Lana

Ambrose, Rosalie

Amorin, Eduardo & Carmen

Andersen, Michael

Campos, Karla

Anderson, Bredrick J.

Anderson, William

Anderson, James & Stager, Patricia

Anderson, Clarence & Constance

Anderson, Judith

Anderson, Samuel

Anderson, Farrel & Kimberly

Anderson, Quaintrell T.

Anderson, Shirley

Anderson, Shawnree & John

Anderton, Gloria & George

Antoun, Ivan

Appelman, Lou & Sara

Aquart, Juanita V.

Arif, Mohammed I. & Aamara

Shazia

Arnaud, Lester & Catherine

Amold, Lee & Maureen

Amold, Rosa

Arroyo, Terrell & Lionel

Astrin, Scott & Terri

Attard, Kenneth

Attard, Steve

Aubert, John & Pamela

Auger, Susan

Aultman, Delores

Aumack, Gary & Nancy

Austin, Jason & Tara

Avant, Catherine

Ayanbadejo, Oladele

Azor, Stephanie & Harry

Back, Charles & Mary

Badon, Ive & Loraine

Bailey, Robert & Anne

Balassone, Arthur & Barbara
Ball, Ashley

Banks, Dorothy Mae

Banner, Tammy

Baptiste, Harrison

Baptiste, Judy

Barbarin, Earline H.

Barisich, Frances & Joseph Barisich,
& George Barisich, & Ann
Marie Barisich Sever

Barlow, Regine & John

Baron, Allen

Barreto, Adolfo

Bart, Eugene & Cynthia
Batiste, Frank & Gralina
Batra, Vinod

Batsch, Kevin

Battista, Leo

Bautista, Mario

Beale, Charles

Beasley, Anika

Belcher, Robert

Bell, Latonya

Bell, Thomas E.

Bell, Marvaleen

Belsom, Scott & Jennifer
Benesch, Paul

Bennett, Larry

Benoit, Richard & Carol
Benson, Steven & Rhonda
Bentley, Lonnette & Lowery,
Kenneth

Benzo, Ramon & Candida
Berthaut, Colin & Dayne Gelpi
Bertholette, Anna nad Leshe Lund
Biglane, Billy

Bilbo, Chester

Billy, William & Thadius
Birkholz, Berlyn & Elaine
Bishop, Michael

Bishop, Brian

Black, Rubie

Black, Douglas & Elizabeth
Blaise, Ervin & Felthus Elizabeth
Blalock, Angeles

Bloom, Amy

Blue Water of Cape Coral, Inc.
Blue, John & Rachelle

Blue Water Condominium
Association

Bo, Theresa

Boglin, Regina

Bontu, Praksah R. & Rupa

Borges, Virgilio & Janaina
Borne, Barry & Mary
Bosch, Unia

Bosse, David & Christina
Boucher, Gordon & Nancy
Boudreaux, Shawn & Justine
Bourg, Junius

Boutte, Gloria

Boutte, Don & Michael Robinson
Bowden, Erica

Bowen, Tia

Bowers, Roger

Boxton, Glenda

Boyce, Gary E. & Chris
Brackett, Orlesa W.
Bradley, Chris

Bradley, Jimmy & Louise
Braga, Henry & Deborah
Brand, Mariyn D.
Branning, William & Betty
Braselman, Holly

Breaux, Roy Jr.

Brennan, Arlene

Brewer, Clatues & Frances
Brewton, HI, 1.D. & Sonia
Brian, Wilton & Rita
Briscoe, Hopeton

Brister, Candy

Brito, Nelson

Brock, Ora

Broesder, Stanley

Brown, Joan E.

Brown, Alganan & Regina
Brawn, Robin

Brown, Morton & Ruth
Brown, Joshana

Browne, James & Jill
Brombaugh, Russell R. Jr. & Carol
Bryant, Debra

Bryant, Victor & Falana
Burk, Johns & Monica
Burke, Richard & Rebecca
Burkhead, Samantha & John L.
Burns, Robert

Burt, James & Janie
Burton, Jenise

Burton, Rose & Tebault
Busbee, Jr., Clarence & Sheri
Butler, Laddy J.

Butler, Bernice

Butler, Mary

Cager, Mitchell & Patricia
Callais, Gary & Michelle
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Callan, Paul & Gloria

Calloway, Frederic (Kent) &
Amanda

Cambric, Shannon

Cammarata, Louis & Michele

Campell, Thomas & Kelli

Candiani, Karen & Donald

Cannestro, Michael & Enny

Caple, Janelle

Carciato, Lisa

Cardiello, Frank & Gayle

Camey, Garnet & William

Caroll, Mattie B.

Carter, Alice

Carter, Andrea

Carter, Antione C.

Carter, Daniel & My-duyen

Carter, Jack, Jr.

Caruso, Leonard & Cheryl

Caruthers, Lewis Harland

Casburn, Richard & Judy

Casey, William & Pamela

Cashion, William

Catalanotto, Mary Ann

Cattano, Phyllis

Chaeffer, Brad

Chalmers, Ryan & Julie

Chauppetta, Larry & Michelle

Cheramie, Bertoule & Joan

Chestnut, Thomas & Patty

Chinoy, Raymond & Vinita

Chladny, Ray & Stafford, Debbie

Cianfrini, Jerry

Cintula, Theodore

Clark, Lisa

Clarke, Wayne G.

Cohen, Ariel

Cohen, Yossef

Cole, Eddie C.

Cole, John & Star

Coleman, Charles

Coleman, Misty

Comick, Ronnie

Commander, Aurorina

Conrad, Jesse & Gelone

Coopier, Royce, Cuff, Cynthia

Copeland, Mildred

Copello, Victor & Pamela

Corvala, Steve

Cotilla, Marisela & Adolfo

Couture, Patrick G. & Kasie F.

Cox, Jeffery

Cox, Shawn & Lisa

Crandle, Angela

Craven, Dan

Crespo, Elliott

Cribb, Rose

Cricco, Carl & Kimberly

Cruchfield, James & Louella

Cuenea, Peggy

Cummins, Rolland & Charlene

Cunningham, Shirley

D’ Ambroiso, John & Pamela
D’Ambrosie, Angelo & Deborah
D'Anna, Gaetano

Dakin, Kim

Damond, Pam

Daniels, Lula

Daniels, Anita

Dao, Cuc

Dasilva, Jose & Maria

Davis, Chris

Davis, Lee Ester

Davis, Susan M.

Davis, Veronica

Davis, Vernon

Dearborn, John

DeCarlo, Ellen & Nelson, Jerald
DeGlopper, Jenm

Deharde, Kelly & Christopher
Dekeyser, Phyllis & Lee
Delisser, John & Maryalyn
Delk, Smith

Delpapa, Pamela

DeMange, Craig

Demirgian, Edward & Tonya
DePompa, Angelo

Desmore, Judy & Barry
Desselle, Brent

Dharamsey, Shabbir
Dickinson, William

Diffley, Matthew & Krista
Dillard, Ronnie & Linda
Dillinger, Norbert & Svetty, Rita
Dillon, Ray & Selestin
Dineen, Robert

Dinette, Rodney & Geraldine
Dinneen, Walter F. & Vickie L.
DiSapio, Tonya & Carmine
Distel, Matthew & Stephaine
Divanno, Michael & Iben
Dixon, Perry & Deborah
Domingue, Craig & Lesa
Donaldson, Jill & Oertling, Jared
Donmeyer, Scott D. & Kristin
Donnelly, Mary Rose & James
Dorsey, Rachael & David
Douglas, Aprile L.

Dow, Jared

Dowell, Darren & Kim
Downing, Kenneth & Maria
Dubocgq de Vicente, Evelyn
Duchane, Charles & Susianna
Duckett, Larry Heath
Dudreck, Albert & Jaon
Dunlap, Jay & Vanessa
Dunn, Howard

Dunn, Keith & Krystal

Dunn, Diane

Duplesis, Georgiana
Durrance, Barry & Denise
Eager, Raymond & Willie M.

Edgar, Farch on behalf of
Marazul LLC

Edwards, Cecile

Ehrsam, Howard

Eleuterius, Gregory & Elizabeth

Elliott, Mary

Enclarde, Mary

Engasser, Paul & Patricia

Engel, Jefferey & Ella

England, Charles

England, Michael & Kim

Englander, Mark

Englert, Thomas & Karen

Estimond, James & Jordany

Evans, Donald & Barbara

Evans, Ronald

Everard, Elliott

Everett, Michael

Ewald, Thomas & Christina

Fairley, Leo & Jacqueline

Fairley, Jeffery A.

Fajardo, Wilson

Gonzalez, Esther

Falls, Jamison & Lauren

Fardella, Michael

Farley, Patrick Michael

Farley, Nancy A.

Farve, Crystal

Feltner, Donna

Fermoile, James & Fran

Ferrer, Haydee

Ferroni, Peter & Christian

Fifteen B’s, LC, a Florida
Corporation

Fineschi, Nicola & Connie

Flaherty, Sean

Fletcher, Gregory & Diane

Flint, Joseph & Sloan, Danielle

Fluharty, Carson & Charlene

Fontana, Patricia

Fordham, Allen & Anissa

Fores, David, Vasquez, Monica

Foreston, Anthony & Sherrie

Foster, William & Vicki

Foster, Gregg

Foster, Van

Foster, Evelyn

Foxwell, Craig & Linda

Foxworth, Margie

Francipane, Susan

Francisco, Tom & Jane

Frank, David & Catherine

Frankiin, Michael & Aimee

Franklin, Allison

Frazier, Rose & Raymond

Freel, Kevin

Fugazy, Lenni & Justin

Gaines, Timothy & Juhe

Gainey, Billy C. & Kathryn

Gainey, Dale & Carolyn

Gaita, Gina
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Galle, Joey & Amanda

Galle, Joseph & Debbie
Galloway, Geraldine
Galmiche, Stephen & Tiffany
Galvan, Eric, Marsh, Lavenda
Galvis, Luis & Beatriz
Gambler, Lenox Jr.

Gamboa, Luis & Mercedes
.Gangl, Donald & Michelle
Gani, Jacques & Rose

Garcia, Nerio, Hedy M., Mazzarri,

Clara

Garrison, Roberto

Garvey, Thomas & Carly
Garvey, Stephen & Karen
Gaston, Nora

Gauthier, Paul & Patricia
Gaylord, Peter & Kelly
Gaynor, Peter & Tracy
Gesualdo, Domenic & Darlene
Ghanta, Madhav

Giannini, Dommic
Giannoussidis, Nikolaos

Gill, Ted & Pamela

Gillan, Zelda

Gillespie, Thomas

Gillman, James c/o Houck, Carolyn
Gimpel, Nicholas & Cathy O’Brien
Gitto, Frank

Glasper, Gregg & Beunker
Gobas, Peter V.

Godwin, Franklin & Veronica
Gody, Anthoney & Candace
Goede, John & Kristin
Goldblum, John, Shirali, Asmita
Goldstein, Ira

Golin, Steven & Karen
Golovkine, Sergei & Natalia
Gomez, Ricardo & Maria
Gomez, Augustus P.

& Annice P.

Gonzales, Huey P. Jr.
Goodstein, Martin & Nancy
Gorton, Peter

Gottung, Douglas & Dolores Florio
Graham, Gerald & Terry
Grajales, Beatriz

Grant, Marcus & Jevon
Grassel, Erie & Svetlana
Green, Patricia Stevens
Green, Mary

Green, Mary Nell

Greenberg, Benjamin
Greenblott, Charles
Greenwald, James & Debra
Gregory, Betty

Griffin, Thomas

Grissom, John D. & Becky
Gross, Cheryl & David
Grover, Adam & Keely
Grueninger, Susan

Grunsted, Tamarra

Guerrero, Maria, Blanco, Roberto

Guidry, Sheila

Guillette, Melissa

Gutierezz, Liset

Haggerty, Katheryn

Hahn, Letitia

Haindel, Mary

Hale, George

Hales, Lisa

Hall, Nathaniel & Darlene

Hall, Emma

Hamilton, Rhett

Hammer, Allen

Hampton, Helen

Hampton, Samuel & Shavonne

Hankins, Lee & Barbara

Hanzel, Gary on behalf of Security
Source, Inc.

Harding, Matthew & Kristin

Harkley, Alfred

Harris, J. Wesley Brandon &

Jessica

Harris, Emily & Gregg

Harris, James

Hartenstein, Lorena

Harter, Harry & Olga

Hartley, Charles & Janet

Harvey, Jr., Ronaid & Brnady

Hasselschwert, Craig & Jane

Hatcher, Sherri

Hatcher, Cecil

Hattemer, Jennifer

Hatten, Gabriel

Haughton, Marcia

Hayes, Joseph & Selena

Hayes, Gloria

Headley, Danny & Cathy

Heller, James & Barbara

Helmick, Timothy & Maria

Helper, Dennis

Hendricksen, Paul

Henry, Clifford & Cuspina

Herbert, Ken & Margot Foglia

Herbert, Brian

Herring, Homer

Herston, James

Hester, Raymond

Hickey, Raymond & Elizabeth

Hickman, David & Vickie

Hill, Jerry & Sharon

Hill, Geraldin

Hoffman, Hannelore, Lengel,

Donna

Hogan, Roger & Joanne

Holt, Herschel & Karen

Hoover, Stephen R.

Hornbeck, Ronald & Linda

Hotard, Christopher

Howard, Monika

Howard Krause as Trustee of the

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Naomi Krause Revocable Trust
Howell, Patricia

Howell, Victor & Loumertistene
Hubbard, Michelle & Curtis
Hudson, Michelle

Hudson, Adam

Hueston, Deborah A.
Hughes, Amanda

Hummer, Charles
Humphreys, Thomas
Hunter, Isa

Hunter, Dorothy

Hurley, Jonathan & April
Huszar, Steve

Iannazzi, Ronald & Florence
Indovina, Leon

ITSM Corp. c/o Ana Maria Tascon
Jablonski, Robert & Colleen
Jackson, Irene

Jackson, Michael

James, Richard & Marion
Jensen, Andrea

Jerry, Jason, Prokopetz, Linda
Johnson, Antonio & Saunja
Johnson, Regma

Johnson, Fred

Johnson, Aisha & Geofirey
Johnson, Caro]

Johnson, Abraham

Johnson, Ronald

Jones, Allie & Jeanie

Jones, Roosevelt, Green, Barbara
Jones, Rosetta & Lucious
Jorda, Carlos

Julia, Juan Carlos & Martha
Kallfelz, Marita

Kallio, Gary & Jennifer
Kapalin, Daniel & Danielle
Karp, Lillian & Herbert
Katarsky, John & Carol
Katz, Barry & Rebecca
Kaufman, Leslie

Kehl, Hans Joachim

Kehoe, Molly

Kelly, Christopher & Jesica
Kelly, James & Sandra
Kelso, Christopher

Kelson, Sherrie

Kepler, LLC

Keyt, Stacey R.

Kim, Mai, Bui, Tom
Kimble, Velma

Kimble, Txyuana Leigh
King, Jeffrey & Lauren
King, John

Kirby, Robert

Knotts, Burnistine

Knowles, Timothy & Tosha
Kostelecky, Joseph & Charlotte
Kovens, Arthur & Martha
Kramer, Ronald & Anita

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Kranz, Helene & Christina
Ksal, Paul & Melody

L&L South Florida Realty, LLC
Labell, Barry

LABO, LLC.

c/o Peter Lampheele
Laergne, Sheral Ann
LaFontaine, Steven & Jennifer
LaFrance, Marlone J.

Lahn, Gerald & Karen

Lakind, Alan & Linda

Lamargue, Carroll, Jr,

Lambert, Robert & Tasha

Lampton, Alean

Lang, Danielle Marie

LaSalle, Juiio & Carmen

Lau, Donald

Lauderdale One Condo Association,
Ine.

Lauria, Dominick

LeBlanc, Steven & Dana

LeCarpentier, Jacques

Ledford, Samuel

Lee, Mark & Wendy

Lee, Anh Van

Lee, Dorothy

Lee, Scott & Donna

Lee, Kevin

Legendre, Joan

Lehmann, Horst

Leon, Aldo

Leon, Daimarys

Leonard, Bridget

Lescarini, Richard & Shannon

Leslie, Daphne

Lester, John & Jacine, Schiller,

Larry
Leverette, Gilletto & Donna
Levy, Kenneth & Lynn
Lewis, Felton
Lewis, Lesley
Lewis, Eloise
Lewis, Wanda
Lewis, Leonard
Licon, Eddie
Lloyd, Maxwell & Joete
Loader, Jennifer
Loper, Joseph & Sherry
Loper, Flavor & Luciile
Lopez, Valerie
Lopez, Christie
Lopez, Rebekah
Love, Nakisha
Love, Robert & Adele
Lowande, Paui & Renee
Lozano, Jorge & Cristinia
Ludgood, Stokes & Angela
Lumar, Semyon & Darina
Lumare Properties c/o Mauricio
Reyes Henao
Lund, Daniel (01D & Elizabeth

Lundy, William & Gena

Luntz, George & Adrienne

Lussier, Lynne

Machado Bohorques, Noe A.

Mack, Thomas Jr.

Macomber, Shawn

Macon, Jeremy

Madigan, Murphy

Maesel, Shawn

Magdalena Gardens Condo
Association

Maggiore, Peter & Frankie

Mai, Long

Mai, Kim & Nguyen, David

Malhoe, Ashok

Malkki, Donna, Clough, Daniel

Malone, Dianne

Malone, Monica

Mancini, Richard

Mancuso, Robert & Lorraine

Maniscalco, Frank & Grace

Mantuo, Jo Elfen

Manuel, Barbara W. & Lucien

Marable, Kimberly

Maranoci, Terri, Lee, Terri

Marcario, Katherine

Marcum, Regina

Mariana, Margaret

Marino, Teresa

Marion, James

Marks, Edward

Marrero, Charlene

Marschhauser, Lou

Marshall, Wilda E.

Marshall, Gregory

Martel, Jean & Carmelle

Martillo, Joseph

Martin, Robert & Denise

Martin, David & Betty

Martin, Richard & Judith

Martin, Victor & Geraldine

Martin Riback, as Trustee of the

Martin Riback Revocable Trust
Agreement

Martinez, Kim

Martinez, Armmold Sr.

Martinez, Dailyn

Mas, Rachel & Bonilla, Fred

Masih, Parveem

Massaro, Mario

Mastrogiacomo, Kim

Mattox, Dread

Matus, Aldo & Ghady

Matute, Argerie

Maurice, Carmine & Emmanie

Maya, Adi

Mayes, Jacqueline

Mayeus, Cory & Knsty

Mayo, Edward & Jacqueline

Mays, Bobby & Gina

Maysonet, Erika

McBride, Shirley Ann
McCarty, Terrance & Sandra
McCool, Michael

McCrory, Osizy & Margie
McEldowney, Larry

McKee, Brett & Sara
McKee, Maria

McKenzie, Martha
McKinley, Jacob

McKinney, Ali & Ika
McKinnies, Kionne & Terral
McKinnon, Joseph/Christina
McLendon, Brian & Stephanie
McMahon, William R. & Setsuke
McMillan, Claretha
McMillian, Timothy
McNeal, Shevon

McNealy, James & Fran
McRae, Frances E.
McTigue, Bobby & Celia
Medina, Pedro

Meinholz, Nancy

Meister, David & Diane
Melton, John & Tamara
Melton, Carolyn & Jackson, Ivory
Mendez, Jose & Sonia
Mercedes, William & Carmen
Metcalfe, George & Amy
Meyer, Kirk & Lori

Meyer, Harry E. Ir.

Miller, Sr., Ronald & Lisa
Miller, Jo Ann

Miller, Alan

Miller, Robert

Miller, Wilham & Teresa
Minegto, James & Patricia
Miranda, Jose & Adela
Mitchell, Robert & Bonnie
Mitchell, James & Kelsey
Mitchell, Virgil & Rosetta
Mize, Brandon

Molden, Frank

Montalvo, Samuel, Jr.
Montoya, Frank & Eva Ann
Moon, Daniel & Marva
Moore, Roxzana

Moore, Evelyn

Moore, Leon

Moore, William & Earlene
Moore, Jerry & Rhonda
Morel, Rudolph

Morgan, Linda

Morgan, Jetson & Lee
Morgan, Sylvia

Morillo, Madelyn

Moritz, Christy

Morlas, Ralph

Morris, Robert

Morrison, Robert & Sandra
Morton, Robert

Moses, Brenda & Bryant Moses

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Moss, Christopher & Cox, Crystal

Mottelo, Gene

Mowers, Evelyn B. & Matthew R.

Mueller, Lawrence & Jamie

Muenchen, Stephen M. Jr.

Mulkey, Kareem J.

Mullet, Crystal

Mullet, Edwin & Debbie

Murdali, Fazeel

Murphree, James Lamar

Murphy, Paul & Danielle

Murphy, Ronald

Murray, Paul & Lois

Murray, Robin & Marva

Myers, Odette

Nack, Thomas

Nelms, Jr., Wilham

Nelton, Mary

Nemes, Robert & Frances

Neste, Dave

Newell, Michael & Faris

Neuyen, Cathy Mai Thi

Nicolosa, Martin & Sharon

Nijhawan, Balraj & Pushpa
c/o Pradeep

Nithawan, POA

Nilsson, Jan Enk & Anette

Niswonger, Mary M.

Noldge, Don

Nord, John

Norton, James

Nowicki, John C.

Nowling, Michael & Angel

Nuccio, Thomas & Darlene

Nunez, Alvaro

Nuss, Doug

Nutting, Julie

O’neil, Gerald & Brasch, Jacqueline

O'Sullivan, Steven

Odoms-Lewis, Janretta C.

Oliver, Kevin

Ondrovic, Joseph

Onori, Paul

Organista, Maria

Orjuela, Sonia

Ortiz, Amelia & Mark

Osicki, Sieward

Overton, Edward

Owen, Scott & Emilia

Owens, Brenda

Oyer, Steve & Angela

Packard, Suki & Michael

Page, Michael & Rikke

Palazzalo, Michelle

Palmer, Frances

Parker, Sr., William

Parker, Jr., William

Parker, David

Parsley, Marshall

Pasos, Gwendolyn

Patching, Trevor & Karen

Pate, Jeremy

Patterson, Gary & Nicole

Patterson, Kellie

Parti, Anthony J.

Paul, Audrey B.

Peace Harbor Condo Association

Pearson, J. Richmond & Julene R.
Pearson

Pearson, Richmond

Pelak, Paul & Michele

Pelligra, Anna R.

Peltier, Isaac & Shanon

Penny, Andrew & Rachel

Peoples, Debra

Pequigney, Sean & Candace

Pereira Dos Ramos, Jose J.

Perez, Mike

Perez, Gustava

Perone, Samuel

Pesseackey, Mike & Phyllis

Peterson, Derrick & Robin

Petrella, Elaine

Pettway, Susan

Peyton, Evelyn

Pfeiffer, Marion

Pham, Kelly

~ Picado, Henry & Tina, Jeffrey

Picado
Troy Picado
Pierce, Alton
Pietrantonio, Tamie
Pigott, Janette
Pitcher, John, Brust, Gina
Pitman, Sharon
Polk, Donna
Pollux, LLC
Polychronpoulos, George &
Nathalie
Poplausky, Maurice & Hanna
Porter, Vanessa
Portsmith Condo Association
Posey, Susan
Potter, Harold & Tricia
Powell, Laura Ann & Lindeerth
Pray, Jeffrey & Lana
Prescott, Scott
Presnall, Donald & Sherron
Preyear, Charlotte D.
Price, Robert & Edith
Pritchett, Carla
Promenade at Tradition Community
Association, Inc.
Pruscha, Calman & Charleen Living
Trust
Purcell, Veronica
Quezada, Nelly & Flaque, Gines
Raio, Joseph
Rand, Ricahrd
Randle, Thomas C.
Poche, Ann Randle Poche
Rankins, Edward & Pamela

Ratliff, Krondenser Means

Rattler, Mike & Tara

Raucci, Steven & Dorothy

Ravelo, Carlos

Real Property Resolutions Group,
LLC

Reaves, Eugene W. IV

Reber, Tedd & Melissa

Redway, Robert

Reed, Randy

Reels, Tamara

Reese, Virgil

Reeves, Carrie

Reilly, Reed & Victoria

Reinoso, Manuel & Jessica

Reiprecht, Raymond

Rekhels, Alexander & Irina

Reynolds, Karen

Rezny, Brian & Linda

Richard, David

Richards, John & Patricia

Richardson, Terry & Frances 0.

Richardson, Tammy

Riggio, Brenda & Ignatius

Riley, Willie James

Riley, Estela

Risko, Mark & Beverly Ann

Rizzo, Frank & Christina

RMM Investments, LLC

Roberson, Martha

Robersen, Nadine

Roberts, Kathryn

Roberts, Robert

Robinson, Louis

Robinson, Jerome & Ellen

Robinson, Dane & Patricia

Robles, Amparo

Robohm, Donald & Natalie

Rodriguez, Peter

Rogers, Michelle

Rogers, Joyce

Rogers, Gretta

Rogers, Brenda

Rogers, Ashley J.

Rogers, Leslie & Lucille

Rogers, Marcella

Roland, Linda

Romain, Eric & Tracey

Rose, Michael

Ross, Robert & Natalie

Roth, Stephen

Royal, Kim & Bryson

Ruse, Lawrence & Rebecca

Rushing, Shirley

Rutherford, Chris

Ryckman, Rickey

Sakalauskas, Alberto & Laura

Salter, Kenneth & Cindy

Samples, Deneen

Sanden, Paul

Sanders, Joseph

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Sanon, Enock & Marie

Santacruz, Jose & Yvette

Santelle, Thomas & Anne

Santiago, Cesar, Crespo, Eileen

Santiago, Angel & Yvette

Santiago, Jose & Yasuany

Santiago, Marcos & Carmen

Santos, Manue & /Judith

Santos, Joel

Saunders, Felician & John

Savoury, Hugh & Lorraine

Scallan, Patricia E. & Ronald

Schafer, Clyde & Pauline

Schamber, John

Schneider-Christians, Michael &
Verena

Schoenfelder, Robert & Phyllis

Schubert, Alex & Beth

Scacco, Bart

Scoggins, Margaret

Scott, Pear]

Scott, James & Karen

Seddon, Robert & Joan

Segnello, Jeffrey & Monica

Sellman, Terry

Serajuddowla, Mohammad & Ruth

Seratt, Doug

Serio, Joseph

Serrano, Jrene & Pouncey, Kenneth

Serrano, Jose & Diana

Shaw, Susan

Shedd, Kevin & Christine

Sheehan, Michael

Sheppard, Austin

Sherred, Valerie

Shirali, Sudheer

Shirley, Michael

Shiyou, Carol

Shuss, Gregory

Siddiqui, Hassan & Frauke

Sierra, Santos & Martha

Simmons, Sandra & James

Simmons, Penny

Simmons, Melinda & Andre

Simonian, Thomas E. & Barbara R.

Petty

Sims, Willie

Sims, Fred

Sinclair, Brittany

Sisk, Robert & Suzanne

Slidell Property Management
LLC

Smith, Gloria & Robert

Smith, Richard

Smith, Daniel & Nicole

Soldavini-Clapper, Brigid

Soloman, Caffie

Somerhalder, Robert

Somma, Joseph

Sosa, Gustavo & Maria

Spencer, Edna

St. Fort, Ed & Barosy, Regine

St. John, Kelvin & Laura

Stamps, Reginald

Staub, Dana & Marcus

Steed, Max

Steele, Wanda E.

Stephens, Urseleen

Steubben, John & Grace

Stewart, George & Deborah

Stewart, Glenn & Kristina

Stock, Amir & Bella

Stone, Thomas & Lauren

Stout, Michael & Kristina

Sullivan, William & Sheila

Swan, Christina & Harwick,
Michael

Swartz, Sylvia & Chrisotpher

Sylvester, Jesste

Talerico, Michele & Tom

Tarver, Cynthia R.

Tatum, Martin & Doris

Taylor, George & Anna

Taylor, Michell

Taylor, Doris

Taylor, Robert & Sandra

Taylor, Lloyd & Hoxter, Scott

Taylor, Travis

Teitelbaum, Donna & Ronald

Tempel, Harvey & Lisa

The Schaper Family Trust

Theard, Avery & Tjaynell

Thiroux, Freddie & Glenda

Thomas, Celeste

Thompson, Edith

Thornton, Stanley & April

Thrower, Chris

Tibbetts, Daniel & Janet

Tillman, Harold & Shavona

Tilmann, Stacey Ann & Kimberly
Noah

Timothy Hesbeens

Tinney, Marjorie

Tobin, Eric & Beth Sorenson

Todd, Linda

Toler, Calvin & Allison

Toles, Purvis & Patricia

Tombrello, Debbie

Torpy, Larry & Terri

Toscana II at Renaissance, Inc. c/o

James Enyart, President
Tracy, Ron & Hazel
Trent, Wilson & Terry
Triche, Susan & Glenn
Trillo, Raquel
Trinh, Thuong
Tromatore, Peggy
Troutman, Rodney & Sheila
Trujillo, Lissett
Tuecke, Donald E.
Tuepker, John & Claire
Tuyet, Bui A

Twin Crest Associates, LLC

Urtubey, Jason

Usaga, Johana

Uttaro, Francis & Christine

Vaca, Amada

Vaiden, Janet

Valdez, Jore & Juana

Vanasdale, Connie & Dennis

Vancio, Robert & Karen

Varnado, David

Veal, David & Mary

Velez, Louis

Veras, Ingrid

Vessel, Charles & Diane

Villalobos, Angel & Maria de

Villarama, Lilia

Volland, John

Vollmar, Frank & Elizabeth

Von dem Bach, Christine

Vu, Jessie & Mai, Kristy

Waites, Shashanda

Walker, Melissa & William

Wallace, Alonza

Walley, Curtis & Monsue

Walter, David A.

Ward, Theotis

Washington, Eugene & Yvonne

Webster, James & Rosalie

Webster, Samuel L.

Weekley, William & Charlotte

Wegweiser, Wanda & Rebecca

Weiner, Darryl

Westerfield, Robert & Ashley

Whealan, John & Robin

Wheeler, Don & Agnes

White, Richard & Linda

White, Jill & Vincent

White, Marshall & Cynthia

White, Jerry P. & Celeste E.

Whitfield, Tydell Nealy

Whitlock, Scott & Lucille

Whittington, Richard

Wienstoer, Danny & Patrick

Wiesman, Robert H. & Juan Z.

Wilbar Investments LLC c/o a
Florida Corporation

Wiley, William & Joan

Wiley, Thad

Wilter, Rosanne

Wilkerson, Annie M.

Willey, Ryan & Danielle

Williams, Houston.

Williams, Deborah M.

Willams, Andrew

Williams, Michael & Alice

Williams, Susie

Williams, Shelby & Arnelle

Williams, Kate

Wilson, Michael

Wilson, Darrell & Darlene

Wilson, Diane & Richard

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Wischler, Robert Yoder, Beth Younger, Leslie, Cummings, Brian
Wites, Marc & Jennifer Yost, Richard & Judith Zamora, Michael

Wood, John & Beatrice Young, Mike Zeleny, Margaret

Woods, Mattie L. Young, Irvin Zhou, Zhongmin & Huang, Qinxi
Worthington, George & Adria Young, Melissa

Yasinski, Joseph & Barbara
